[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                                CORRECTED MEMORANDUM OF DECISION ON OTHER ARREARAGES AND PLAINTIFF'S REQUEST FOR COUNSEL FEES
The plaintiff seeks counsel fees of $5,400 upon all of plaintiff's motions. The court has found contempt on at least three of plaintiff's motions and allows counsel fees pursuant to § 46b-87 of the General Statutes. Such sum is found to be a fair and reasonable amount for four days of hearings, review of the file and preparation and filing of the motions. Further, there is owed to the plaintiff $3,000 ordered by Judge Moran by way of sanctions and $2,373 ordered by Judge Kavanewsky on February 26, 1998 for a total of $10,773. This shall be paid by the defendant to plaintiff's counsel in the amount of $100.00 per month commencing December 15, 1998, and payable on the fifteenth of each month thereafter until said sum is paid in full.
There is also an outstanding arrearage to the State of Connecticut in the amount of $7,832.26, subject to credits and payments and audit as found by Judge Moran on September 29, 1997. This sum remains outstanding as of this date. There is reference in the transcripts that there is an outstanding order of $5.00 per week on this arrearage.
EDGAR W. BASSICK, III JUDGE TRIAL REFEREE CT Page 13687